 Case 2:19-cv-00404-JRG Document 22 Filed 05/20/20 Page 1 of 2 PageID #: 137




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

CLYDE BENNETT, JR., ET AL                      §
                                               §
v.                                             §         Case No. 2:19-cv-404-JRG
                                               §
TNT TRUCKING OF PIONEER                        §
LOUISIANA, LLC, ET AL.                         §

                                 ORDER APPOINTING MEDIATOR

       IT IS ORDERED that Bonnie Leggat Hagan, P.O. Box 3347, Longview, Texas 75605-

3347 telephone number 903-938-7770, mail@bonnieleggat.com, is hereby appointed as mediator

in the above referenced case. The Court designates plaintiff=s counsel to be responsible for timely

contacting the mediator and defendant=s counsel to coordinate a date for the mediation. Mediation

shall be completed by the date set forth in the Docket Control Order.

       Mediation shall be governed by the Court-Annexed Mediation Plan, found at:

http://www.txed.uscourts.gov/?q=court-annexed-mediation-plan.           In particular and without

limitation, the Mediation Plan requires the presence at the mediation conference of all parties,

corporate representatives, and any other required claims professionals (e.g., insurance adjusters,

etc.) with full authority to negotiate a settlement. Exceptions to this requirement may be made

only by the presiding judge in writing. Further, this Court’s Standing Order Regarding the Use

of   Local    Counsel       in     Mediation   (dated   April    30,     2018    and   found     at

http://www.txed.uscourts.gov/?q=judge/chief-district-judge-rodney-gilstrap) shall be complied

with wherever applicable.
Case 2:19-cv-00404-JRG Document 22 Filed 05/20/20 Page 2 of 2 PageID #: 138




      So Ordered this
      May 19, 2020




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